                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF INDIANA
                         INDIANAPOLIS DIVISION

DEMONA FREEMAN,                              )
                                             )
                          Plaintiff,         )
                                             )
                     v.                      )     No. 1:18-cv-03844-TWP-DLP
                                             )
OCWEN LOAN SERVICING, LLC,                   )
BANK OF NEW YORK MELLON                      )
  a/k/a BANK OF NEW YORK                     )
  a/k/a BANK OF NEW YORK,                    )
                                             )
                          Defendants.        )

                 MINUTE ENTRY FOR JANUARY 25, 2021
                      DISCOVERY CONFERENCE
               HON. DORIS L. PRYOR, MAGISTRATE JUDGE

      Parties appeared by telephone for a Discovery Conference on January 25, 2021.

The parties reported on the status of and future plans for discovery and potential

settlement conference.

      This matter is scheduled for a telephonic status conference on February 24,

2021 at 1:00 p.m. (Eastern) to discuss case status. Counsel shall attend the status

conference by calling the designated phone number, to be provided by the Court via

email generated by the Court's ECF system.

      Additionally, this matter is scheduled for a telephonic settlement conference

on March 3, 2021 at 9:00 a.m. (Eastern) before Magistrate Judge Doris L. Pryor.

The parties shall attend the status conference by calling the designated phone

number, to be provided by the Court via email generated by the Court's ECF

system.
        Unless excused by order of the court, clients or client

representatives with complete authority to negotiate and communicate a

settlement shall attend the settlement conference along with their counsel.

This requires the presence of each party, or the authorized representative of each

corporate, governmental, or other organizational entity. Any legal entity and/or any

insurance company that is a party, or is contractually required to defend or

indemnify any party, in whole or in part, must have a fully authorized settlement

representative present at the conference. That representative must have final

settlement authority to commit the company to pay, in the representative=s own

discretion, the amount of plaintiff's most recent demand, or in the case of the

representative of an insurance company that is not a party, the total amount within

any policy limits, if such amount is lower than the plaintiff's most recent demand. 1

The purpose of this requirement is to have in attendance a representative who has

the authority to exercise discretion to settle the case during the settlement

conference without consulting someone else who is not present.

       In addition, unless excused by written order of the court, every individual

party, and an officer (President, Vice President, Treasurer, Secretary, CFO, CEO or



1  A representative of a corporate party or an insurance company who has any predetermined limits
upon the extent of their authority to resolve this matter fails to satisfy this requirement. The
purpose of this requirement is to ensure that each legal entity and insurance company participating
in the proceeding has present a representative who can listen to the arguments and other discussion
which take place during the settlement conference and make a full and independent determination
regarding the appropriate settlement value of the case without reference to any person or group of
persons not present at the settlement conference and who can articulate the reasons for such
determination to the Court based upon their sole and independent judgment.
COO) of every corporate entity that is a party, shall attend the settlement

conference.

      No other persons are permitted to attend the settlement conference

without leave of court.

      On or before five (5) business days before the settlement conference,

the parties shall submit (not file) a confidential settlement statement

setting forth a brief statement of: (1) relevant facts, including any key facts that

the party believes are admitted or in dispute; (2) damages, including any applicable

back pay, mitigation, compensatory and/or punitive damages, or any other special

damages; (3) the existence of any applicable liens; and (4) any pending or

anticipated dispositive or other substantive motions and citation to controlling

precedent in support of their respective legal positions. The confidential settlement

statement should not exceed five pages, and submission of exhibits should be kept

to a minimum. Confidential settlement statements should be submitted via

email to MJPryor@insd.uscourts.gov. There is no need to follow any email

submission with a hard copy.

      No later than sixty (30) days before the settlement conference,

Plaintiff(s) shall serve a settlement demand on Defendant(s), which demand

shall include a breakdown of any special damages sought by the Plaintiff(s), as well

as a detailed explanation of the basis for any other amounts claimed in the demand

(the "Demand"). The Demand should represent the actual initial good faith

negotiating position of the Plaintiff(s) at the time it is made. No later than
fifteen (15) days before the settlement conference, Defendant(s) shall

serve a good faith response to the Demand. Such response should represent

the actual initial good faith negotiating position of the Defendant(s) at the time it

is made. The parties shall submit (not file) courtesy copies of their

respective demand and response to the Court at the time of service. These

should be emailed to the Magistrate Judge at MJPryor@insd.uscourts.gov.

        If the amount of the offer made by Defendant(s) is less than the

lesser of (a) $5000 or (b) five percent of the Demand, then at the time such

offer is forwarded to Plaintiff(s) and the Court, Defendant(s) shall also submit to the

Court (but not serve on any other party) a confidential statement explaining the

basis for its offer and setting forth in detail how the amount of the offer made

constitutes a good faith offer in the circumstances of the matter. Likewise, if it is

Defendant(s) intent to offer at the settlement conference a total amount of no more

than twenty percent of the amount of the Demand to finally settle the case,

Defendant(s) shall also submit to the Court (but not serve on any other party), no

later than fifteen (15) days before the settlement conference, a confidential

statement explaining the basis for any limitations in its intended final settlement

position and setting forth in detail how the amount of any such limitation

constitutes a good faith settlement position in the circumstances of the matter.2




2 The intent of this requirement is not to place any artificial requirements or limitations upon any of
the parties' settlement positions, or to establish any limitations as to what a good faith settlement of
this matter might entail. Rather, the intent of this requirement is to provide information to the
Court regarding the viability of the settlement conference sufficiently in advance of the settlement
These submissions should also be emailed to the Magistrate Judge at

MJPryor@insd.uscourts.gov.

       If, after the making of the demand and/or offer set forth above, an event

occurs or information is discovered that materially alters the settlement position of

any party, then a revised demand and/or offer shall be immediately proffered and

any other confidential submissions to the Court that may be required in light of

such altered settlement position(s) shall be immediately made.

       If there exist any liens or potential liens upon Plaintiff(s) potential recovery,

Plaintiff(s)' counsel shall fully inform themselves of the nature and amount of all

such liens and shall undertake to negotiate a resolution of such liens in advance of

the settlement conference and shall make arrangements to be in telephonic

communication with representatives of any such lienholders during the course of

the settlement conference for the purpose of negotiating a final resolution of any

such liens.

       Likewise, if there exists in the case any issue regarding the set-aside of

certain funds from any recovery or any other issue that could affect the amount of

money payable directly to the Plaintiff as a result of the settlement, the parties will

address such issue in advance of the settlement conference and, to the extent

possible, either reach an agreed resolution of such issue or develop a plan whereby

the resolution of such issue may be achieved. The parties are instructed to jointly



conference to allow the Court to schedule other matters on that date if, in the judgment of the Court,
the parties are not yet in a position to conduct fruitful settlement negotiations.
prepare and submit (not file) a draft settlement agreement, noting any

disagreement by the parties. The agreement in question should represent, to the

extent possible in the circumstances, the final written agreement intended by the

parties to resolve the case and should contain all material provisions that any party

believes should be contained within such document, such that the settlement

agreement proposed can be executed in full and final settlement of the matter at the

successful conclusion of the settlement conference. The draft settlement

agreement shall be emailed to the Magistrate Judge in Word format at

MJPryor@insd.uscourts.gov no later than five (5) business days before the

settlement conference.

      A request to vacate or continue the settlement conference must be made by

motion filed with the court no later than ten (10) days prior to the conference,

except in exigent circumstances. These motions will be granted only for good cause.

      Failure to comply with any of the provisions in this Order may result in

sanctions.

      If any of the deadlines set forth in this Order conflict with the requirements

for submission of a settlement demand set forth in the Case Management Plan, the

requirements of this Order control.


        Date: 1/27/2021
Distribution:

All ECF-registered counsel of record via email
